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                  UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: TIMOTHY HAYES,                          :      Case No. 16-11983REF
           Debtor                              :      Chapter 7



315 BOWERY HOLDINGS, LLC and                   :      Adv. No. 16-186
                                               '
      CBGB FESTIVAL, LLC.,
          Plaintiffs
                    VS.
      TIMOTHY HAYES,

                                    ORDER
              AND NOW, this    17 day   of April, 2018, Plaintiffs   are directed to   ﬁle

the next Status Report relating to the procedural status   of the   state court litigation

on or before June 22, 2018, after which a status conference may be scheduled in

this Court.


                                        BY THE COURT


                                        RICHARD E. FEHLING
                                        United States Bankruptcy Judge
